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                                                                        CLERK, U.S. DISTRICT COURT
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 3                                                                            TRAL DISTRICT OF CALiFORNiA
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 8                                 UNITED STATES DISTRICT COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10 ~ UNITED STATES OF AMERICA,                           Case No.8:2i-MJ-oo~94
ii                           Plaintiff,
12                           v.                          ORDER OF DETENTION AFTER
                                                         HEARING
i3 ~ JONATHAN SANDLE,
                                                      [Fed. R. Crim. P. 32.~(a)(6); ~8 U.S.C.
14                           Defendant                § 3143~a)~
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i6

i~             The defendant having been arrested in this District pursuant to a warrant issued
18      by the United States District Court for the Southern District of California for alleged
        violations of the terms and conditions of his/her supervised release; and
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20             The Court having conducted a detention hearing pursuant to Federal Rule of

21      Criminal Procedure 32.i(a)(6) and i8 U.S.C. § 3~43(a), hereby finds the following:
22             A. (x) The defendant has not met his/her burden of establishing by clear and
23                convincing evidence that he/she is not likely to flee if released under i8 U.S.C.
24                § 3142~b) or ~~)•
25             B. (x) The defendant has not met his/her burden of establishing by clear and
26                convincing evidence that he/she is not likely to pose a danger to the safety of
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 i              any other person or the community if released under ~8 U.S.C. § 3142(b)or
 2              (c).

 3           These findings are based on: nature ofcurrent allegations which includesfailure

 4     to comply with terms ofsupervised release including to report to probation; nature of

 5 previous criminal history; and lack ofverified background.
 6           IT THEREFORE IS ORDERED that the defendant be detained pending the

 7 preliminary hearing and/or final revocation proceedings in the charging district.
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 9     Dated:             Z                                ~~
                                                      ONORABL AUTUMN D.SPAETH
io                                                   United States Magistrate Judge
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